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Dunbar-Ortiz’s most important achievement is to put cla$s back on the rural map wh
Los Angeles Times

At once sweetly nostalgic and inexorably grim, a true study of light and da
Village Voice |

W... the peasants are deprived of fields to work, sd goes the chorus of an old Irish balla
all that is left is the love of the land. in this exquisite rendering of her childhood in rural Oklahom

fram the Dust Bowl days to the end of the Eisenhower era, Roxanne Dunbar-Ortiz bears witne
to a family and community which still clings to the dream df America as a republic of landowne

read this book in unbelief. The author has written with remarkable courage and candor abou

particular area in America and the people it produced. In telling her story she has put me squar
back in the wagon ruts of my own early life. | find myself sitting at a familiar table listening to vo
| have heard all my life understanding every word.

Wilma Elizabeth McDaniel, California Okie poet laurelte, author of A Primer for Buford.

he sorrows and the courage of rich white Americans are nothing like the sorrows and the co

of peor white Americans,"white trash", who must daily struggle against the rule that shame is th
duty. Nowhere has this struggle been harder than in Roxie Amanda Dunbar's state and mine
Oklahoma. Over the last 100-odd years of settlement inindian country, the Okie rich and their po
stooges have made the misery of the poor there a popular cult. That some of the Okie poor ha

EXHIBIT
defied their doom as "the foot-saldiers of empire", told the truth to vicious power and the foule

i > condescension and bigotry, and felt the dignity of brown and black neighbours, is strong testimo
some fundamental good in humanity. Roxie's story of growing up poor and Okie is painfully faith

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‘ brave, loving and plainly beautiful. It would make her Wobbly grandpa very proud of her. It make
proud to come from near where she came from. | recommend her book enthusiastically to anyo
who wonders how poor provincials anywhere have learned to stand up for liberty and justice fo

John Womack, Jr., author of Zapata, Harvard University.

he best of autobiographical works are those that convey, in the telling of one life story, lar

truths than those we experience as individuals. To accomplish this feat with seeming effortlessn
as Roxanne Dunbar-Ortiz has done with Red Dirt, is to create not only a valuable historical rec
but a literary work that is a pleasure to read. Employing the finest storytelling skills, Dunbar-Or

lovingly recollects her youth in Oklahoma and the family dynamics she experienced "growing up
during the mid-20th-century. In the process, she touches upon a host of social issues--among th
racism, sexism, and economic disparity—that have plagued the U.S. since its earliest days. Perh
most importantly, she offers one resounding voice fram ampng a vast population--namely, the w
underclass--that consistently has been underrepresented in historical texts, and misrepresente
popular culture. Expioding the notion of "poor white trash"Dunbar-Ortiz offers a three-dimensio
alternative as she reconstructs through her personal memoir the history and struggles of the fro
setiler class and its descendants. As we move into the next century, Red Dirt is a text of vita

significance to our collective humanity.
Angela Y. Davis, teacher, activist, author, University of California, Santa Cruz

think of myself as an Okie. Let me tell you what that means: Being an Okie means being th

your whole family to finish high school let alone go on to college. Being an Okie means gettin
out of an area and having to hustle for a toehold in some néw area. Being an Okie means run

risk of striving out from under a layer of heartless sonsabitches only to discover you have be
redneck of bitterness worse than those you strove against, Being an Okie is a low rent, aggr
drag, but it does learn you some essentials like it isn't a neW car that pulls over to help you w
are broke down with the senile carburetor, it is somebody who knows what it is to be broke d

a hurt machine.’ :
Ken Kesey, author of One Flew Over the Cuckoo's Nest and Sometimes a Great Notion

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by Roxanne Dunbar-Ortiz
Available February 2002

ISBN: 0-87286-390-5

Trade paperback original, 340pp
$17.95

A founder of the feminist movement tells of her life as a radical acti
revolutionary

In 1968, Roxanne Dunbar-Ortiz became a founding member of the early women’s liberatio
with a small group of dedicated women, she produced the seminal journal series, No Mare

Dunbar-Ortiz was also a dedicated anti-war activist and organizer throughout the 1960s ar
war years she was a fiery, indefatigable public speaker on |ssues of patriarchy, capitalism,
racism. She worked in Cuba with the Venceremos Brigade and formed associations with ot
across the spectrum of radical and underground politics, including the SDS, the Weather U
Revolutionary Union, and the African National Congress. But unlike the majority of those ir
Ortiz grew up poor, female, and part-Indian in rural Oklahoma, and she often found hersel
the ruling class but also with the Left and with the women's movement.

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that brings together threads of a complex, troubled, and rewarding era, a life that really m
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Bombs

Roxanne Dunbar-Ortiz is a historian and professor in the Department of Ethnic Studies <
University, Hayward. She is the author of Red Dirt: Growing Up Okie (Verso), The Grea
Roots of Resistance, among other books.

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